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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA


                           MEMORANDUM AND ORDER


Honorable Garland E. Burrell, Jr.
United States District Judge
Sacramento, California


                                         RE:   Andrew Evan WILSON
                                               Docket Number: 2:07CR00524-02
                                               REQUEST TO CONTINUE
                                               DISPOSITIONAL HEARING


Your Honor:

Per agreement with both counsel members, it is respectfully requested that the above-
referenced case be continued from August 26, 2011, to November 18, 2011, at 9:00 a.m.

REASON FOR CONTINUANCE: On July 29, 2011, Mr. Wilson appeared before Your
Honor and admitted to Charges 1 and 2 of the Violation Petition filed on July 12, 2011.
The matter was continued to August 26, 2011, for a Dispositional Hearing.

We are requesting the matter be continued for 90 days to monitor and evaluate Mr. Wilson.
How he performs in the next 90 days will assist us in determining an appropriate
recommendation to the Court regarding his admitted violation conduct . At this time, Mr.
Wilson is participating in treatment and drug testing. His performance thus far has been
satisfactory; however, his history of continued drug use is concerning and we would like
to wait and see if his current commitment to sobriety is sincere and enduring.

By copy of this memorandum, the Court Clerk is being requested to make appropriate
changes in the Court calendar.




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         Docket Number: 2:07CR00524-02
         REQUEST TO CONTINUE
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                                  Respectfully submitted,


                                    /s/ Kris M. Miura
                                    KRIS M. MIURA
                             United States Probation Officer



REVIEWED BY:          /s/ Michael A. Sipe
                      MICHAEL A. SIPE
                      Supervising United States Probation Officer


Dated:         August 17, 2011
               Elk Grove, California
               KMM/cj


cc:      Clerk, United States District Court
         Michelle Rodriguez, United States Attorney's Office
         Dennis Waks, Federal Defender
         Probation Office



X        Approved



Dated: August 19, 2011



                                       GARLAND E. BURRELL, JR.
                                       United States District Judge




                                             2                                                  R ev. 05/2011
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